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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

  ATLAS AIR, INC,    et al.,
                                             Civil Action
                Plaintiffs,                  No. 1:17-cv-1953

          vs.                                Washington, DC
                                             October 6, 2017
  INTERNATIONAL BROTHERHOOD
  OF TEAMSTERS, et al.,                      3:35 p.m.

              Defendants.
  __________________________/

            TRANSCRIPT OF TELEPHONE CONFERENCE HEARING
              BEFORE THE HONORABLE RANDOLPH D. MOSS
                UNITED STATES DISTRICT COURT JUDGE


  APPEARANCES
  For the Plaintiffs:       ROBERT A. SIEGEL      (via telephone)
                            MICHAEL G. McGUINNESS (via telephone)
                               O'Melveny & Myers LLP
                               1625 Eye Street, NW
                               Washington, DC 20006


  For the Defendants:       EDWARD A. GLEASON        (via telephone)
                               Law Office of Edward A. Gleason
                               10 17th St. N.W., Suite 800
                               Washington, D.C. 20006

                            DEIRDRE HAMILTON      (via telephone)
                               International Brotherhood of
                               Teamsters
                               25 Louisiana Ave NW
                               Washington, DC 20001

  _____________________________________________________________

  Court Reporter:           Jeff M. Hook, CSR, RPR
                               Official Court Reporter
                               U.S. District & Bankruptcy Courts
                               333 Constitution Avenue, NW
                               Room 4700-C
                               Washington, DC 20001

  Proceedings recorded by realtime stenographic shorthand;
  transcript produced by computer-aided transcription.
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1                            P R O C E E D I N G S

2                 DEPUTY CLERK:    Civil action 17-1953, Atlas Air,

3      Incorporated, et al., versus the International Brotherhood

4      of Teamsters, et al.     The parties have already identified

5      themselves for the record.

6                 THE COURT:    So Ms. Hamilton, I think you were

7      saying that you were requesting that the Court adjourn the

8      conference?

9                 MS. HAMILTON:    Yeah, my colleague Ed Gleason has

10     been working with Mr. Siegel and Mr. McGuinness all day.

11     And he has left this call, it timed out on him again.          And

12     I've contacted him multiple ways to tell him to call back

13     in, but just a couple minutes ago he e-mailed Ms. Thompson

14     and proposed -- he stated, "After more discussions with

15     plaintiffs' counsel during which we have been able to narrow

16     the issues and have agreed to engage in an additional meet

17     and confer, may we suggest that the Court cancel the call

18     for today and that we have the opportunity to reschedule the

19     call for early next week if there are any remaining

20     unresolved issues?"

21                THE COURT:    Does someone from the plaintiffs want

22     to address that issue?

23                MR. SIEGEL:    Yeah, this is -- good afternoon, your

24     Honor, Robert Siegel.     Yes, I spoke to Mr. Gleason about

25     this, and I agree with Mr. Gleason's suggestion.        I think
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1      we've made some progress in some additional calls this

2      morning, and we're going to have some more.        So we'd prefer

3      not to disturb your calendar if we can try to resolve it

4      with each other.

5                 THE COURT:    Well, it's certainly my preference

6      that you resolve it with each other.       I can tell you that

7      it's going to be very hard to get me for the next couple of

8      weeks.   So if there's anything you want to raise now, I

9      think I would do it.     It's possible that you'll be able to

10     get in touch with me, but I have limited availability next

11     week and then I'm in trial the entire week after that.

12                MR. SIEGEL:    Okay.   Ms. Hamilton, is Mr. Gleason

13     going to call back in?

14                MS. HAMILTON:    I've e-mailed him and texted him

15     and I'm calling him on my cellphone.       Is that him now?

16                MR. GLEASON:    Yes, that's me.    Hello.

17                MS. HAMILTON:    Great.

18                MR. SIEGEL:    Hi, Ed.    Judge Moss has indicated he

19     may not have great availability over the next couple of

20     weeks and so just asked us if we have any things we should

21     bring to his attention this morning.       And I have concurred

22     with your e-mail that we've made good progress on the meet

23     and confer this morning in our calls.

24                And if I -- I hate to be overly optimistic, but I

25     think we're going to have additional work together over the
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1      weekend.   So I hope that we would not need to bring an

2      unresolved dispute to the Court's attention.        But we can

3      certainly maybe -- I don't know if it would be appropriate

4      to just identify the issues that we're talking about at this

5      point which I'd be glad to do if that's appropriate.

6                 MR. GLEASON:    I do, Bob.    And I'm sorry, I just

7      had to hit the restroom there, so I'm sorry for being late.

8      I think we should at least identify the issues as to what we

9      still have to maybe, maybe work through.       I'm hopeful that

10     we can.

11                And in my view, the one issue that I need to

12     draw to -- you know, obviously Bob, to yours and to the

13     Court's attention is this deposition stuff.        That one is

14     troublesome to me.     I would say in terms of your

15     discovery -- meaning the plaintiffs, that is particularly

16     troublesome to us.

17                MR. SIEGEL:    Yeah, okay.    I had mentioned in

18     our -- your Honor, in a deposition request for the

19     plaintiffs that I don't necessarily have to take any

20     depositions.    I just had pointed out to Mr. Gleason that our

21     principal witness has filed a written declaration that

22     outlines his testimony so that Mr. Gleason can be prepared

23     for it at the hearing.

24                And I had asked him if his witnesses -- fact

25     witnesses, not his expert witness, were going to file
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1      declarations with his opposing brief in which case I don't

2      need any depositions, I would just be ready for the hearing

3      in that manner.    And I had pointed out if they were not

4      going to file any declarations and they had some fact

5      witnesses, I'd like to have the opportunity for a very short

6      deposition before we show up in court for a hearing.

7                 And so I really first was just asking whether his

8      witnesses would file a declaration with their opposing brief

9      in which case I don't need to ask for a deposition at all.

10                And as I understand it, Mr. Gleason, you're not

11     certain at this stage what your process is?

12                MR. GLEASON:    Your Honor, this is Ed Gleason.     And

13     yes, Mr. Siegel is correct, I don't know.        We are scrambling

14     trying to mount a defense.      And the notice of deposition

15     calling for deposition of our fact witnesses on October 18th

16     I think is flat out inappropriate.       And particularly it's

17     inappropriate in light of the Court's order, the minute

18     order.   I don't know whether we're going to be putting --

19                THE COURT:    I'm sorry, what in my minute order was

20     it inconsistent with?

21                MR. GLEASON:    Exchanging witness lists on the

22     23rd.    The idea of having to identify our witnesses -- I

23     don't even know which ones I'm going to be using yet, and

24     then to have to do that in the middle -- you know, frankly

25     when it's the real crunch time of trying to get this put
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1      together on the 18th I think is just -- it's unreasonable.

2                 THE COURT:    Well, to the extent I can provide you

3      some guidance on this issue and hopefully the parties

4      working it out, I understand your time concerns and that you

5      don't want to have to be in a position in which you're

6      prematurely identifying your witnesses.

7                 On the other hand, I do -- I am sympathetic to the

8      plaintiffs' concern about trial by surprise here.         And if

9      you're going to know precisely what the plaintiffs'

10     witnesses are going to say on direct, it seems to me that it

11     is appropriate for the plaintiffs to have some opportunity

12     to know what your witnesses are going to say, whether it's

13     by way of receiving declarations in advance or taking brief

14     depositions in advance of the hearing just so that they're

15     not showing up at the hearing in a position in which they

16     don't even know how to prepare a cross-examination because

17     they don't know -- they don't have any idea what's going to

18     be said.

19                MR. GLEASON:    This is Ed Gleason again.      And I

20     appreciate that too.     I'm not here trying to surprise them,

21     I'm the one that's surprised with over a thousand pages of

22     paper.   And so I understand that, your Honor.       I don't know

23     sitting here today in my chair whether I'm going to be

24     putting declarations in or not.      I don't know our witnesses.

25     To the extent that we don't put declarations in, I
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1      understand.    But a short declaration, obviously I don't

2      anticipate having only one witness, I'm going to have

3      several.   I have to.

4                 And so there are at least six allegations if you

5      will, buckets if you will, that they've made against -- and

6      accusations that they've made against the union.        I'm going

7      to need witnesses for each of those.       And so a relatively

8      brief deposition could turn into a couple of days which is

9      time that I'm not going to be able to spend preparing for

10     the remainder of my defense.

11                THE COURT:    Well, perhaps the parties -- I mean, I

12     think you've got my general outline for purposes of working

13     something out.    I suppose the parties -- I mean, I heard

14     Mr. Siegel refer to this as a brief deposition himself.         So

15     perhaps the parties could agree to some reasonable time

16     limitation on any such depositions if they're needed.          They

17     may not be needed at all, but some reasonable time

18     limitation with respect to them.

19                And there's always obviously the risk that you

20     show up at a deposition and the witness just doesn't answer

21     your questions, and you eat up all your time because the

22     witness hasn't answered your questions in which case if that

23     happened Mr. Siegel would be free to come back to me and

24     say, you know, "We agreed on a four-hour deposition, and

25     Judge, let me read you the transcript:
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1                 'What's your name?'

2                 'I don't know why that's any of your business,'"

3      in which case then I would say, "You get another four

4      hours."

5                 MR. SIEGEL:    I wouldn't do that.     Robert Siegel

6      here.   Thank you, your Honor.     I'll work with Mr. Gleason on

7      this.   I appreciate your guidance on that one subject.         I

8      think the other subject that we have been trying to resolve

9      this morning is that there was -- plaintiffs served some

10     document requests, and then when we received defendants'

11     objections last night we narrowed them considerably.           And I

12     have been talking to Mr. Gleason about it this morning.          And

13     I'm hopeful that we can, through that narrowing, make it

14     practicable and not time consuming for a preliminary

15     injunction discovery.     And that was the reason we narrowed

16     it last night.

17                And if I understand it, we're in a situation where

18     the defendants will consider the narrowing that we offered

19     and circle back to us.

20                MR. GLEASON:    And this is Ed Gleason.     That's

21     correct, I think we were able to narrow this a little more

22     today before we got on the phone call.       And with respect to

23     the discovery and the concerns and the items that we have,

24     it would enable our ability to review and analyze the data

25     that was provided to us last week.       I also remain hopeful
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1      that we can get that resolved, your Honor, based upon

2      representations obviously from Mr. Siegel which I always

3      take at his word.

4                 THE COURT:    Okay.

5                 MR. SIEGEL:    We will.   We will, we're going to

6      work with Mr. Gleason over the weekend on some of the

7      questions they've raised about the data in the expert

8      report.   And I think the last issue -- which I do think we

9      will resolve, is that there was some disagreement apparently

10     over the terms of a confidentiality agreement as prelude to

11     the company producing some proprietary information.            But I

12     think I've -- we will work that out.

13                There's dueling versions, but I would represent to

14     the Court that we'll use our skills to get that resolved

15     with Mr. Gleason today.     And we intend to -- and then start

16     rolling out production of information that they've served on

17     us, the document requests they've served on us.        So we're

18     going to start doing that this afternoon.

19                THE COURT:    Okay.   Well, that sounds eminently

20     doable.   I can't recall a time in 25 years or so of practice

21     that I ever found a case in which I wasn't able to reach an

22     agreement with opposing counsel on a confidentiality

23     agreement.

24                MR. SIEGEL:    Right.

25                THE COURT:    So I assume you all will be able to do
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                                                                           10

1       likewise.

2                   MR. SIEGEL:    Well, this was helpful to me.       Thank

3       you, your Honor.

4                   THE COURT:    Okay.   As I say, if there's an

5       emergency and you need to get in touch with me, you can

6       reach out to chambers jointly to try and schedule something,

7       but my availability is limited.

8                   MR. SIEGEL:    Thank you for giving us this

9       conference today, very helpful.

10                  THE COURT:    Okay.   Well, thank you all and good

11      luck.   I appreciate your efforts to work together on this.

12                  MR. SIEGEL:    All right, thank you.

13                  MR. GLEASON:    Thank you, your Honor.

14                  MS. HAMILTON:   Thank you.

15           (Proceedings adjourned at 3:49 p.m.)

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